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                                                                  of 11          OF
                                                                 DOCUMENT SOUGHT TO
                                                                 BE SEALED
                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION

 EPIC GAMES, INC.,                                    Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,
                   Defendant, Counterclaimant.



 IN RE APPLE IPHONE ANTITRUST                         Case No. 4:11-cv-06714-YGR-TSH
 LITIGATION

 DONALD R. CAMERON, et al.,                           Case No. 4:19-cv-03074-YGR-TSH
                                        Plaintiffs,
                        v.                            JOINT DISCOVERY LETTER BRIEF
 APPLE INC.,                                          REGARDING ADDITIONAL APPLE
                                                      DOCUMENT CUSTODIANS
                                      Defendant.

The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom G, 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to the Court’s Discovery Standing Order, the parties in the above-captioned
actions respectfully submit this joint letter brief regarding additional Apple document custodians.
        Counsel for Epic Games, Inc. (“Epic”), plaintiffs (“Class Plaintiffs”, together with Epic,
“Plaintiffs”) in Cameron v. Apple and In re Apple iPhone Antitrust Litigation (the “Class Actions”)
and Apple Inc. (“Apple”, together with Plaintiffs, the “Parties”) have met and conferred
telephonically and exchanged correspondence in a good faith effort to resolve outstanding
disputes. The Parties have been unable to reach agreement and therefore submit this joint letter.
The Parties can make additional exhibits—including the documents identified in this submission—
available to the Court upon request.
        The Parties agree that the issues in this joint letter brief are ripe for either of the hearings
previously scheduled in the above-captioned actions for December 9, 2020 or December 15, 2020,
if the Court would like to add these issues to the agenda for either of those hearings.




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Respectfully submitted,

CRAVATH, SWAINE                     HAGENS BERMAN
& MOORE LLP                         SOBOL SHAPIRO LLP

 By: /s/ Lauren A. Moskowitz             By: /s/ Benjamin J. Siegel
     Lauren A. Moskowitz                     Benjamin J. Siegel
     Counsel for Epic Games,                 Counsel for Developer
     Inc.                                    Plaintiffs


WOLF HALDENSTEIN                    GIBSON DUNN & CRUTCHER LLP
ADLER FREEMAN
& HERZ LLP

 By: /s/ Rachele R. Byrd                 By: /s/ Jay P. Srinivasan
     Rachele R. Byrd                         Jay P. Srinivasan
     Counsel for                             Counsel for Apple Inc.
     Consumer Plaintiffs




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Apple’s position: Apple respectfully submits that Plaintiffs have provided no basis for the Court
to second-guess Apple’s custodial designations.
Relevant Background: Apple initially proposed 14 custodians, and added a 15th at Class
Plaintiffs’ request. Ex. 1. On February 25, 2020, Class Plaintiffs requested an additional 9
custodians. Ex. 2. On March 5, 2020, Apple declined this request, explaining that Class Plaintiffs
had not shown that the additional individuals were likely to have unique relevant information, or
be proportionate to the needs of the litigation. Ex. 3. Class Plaintiffs did nothing for six months.
Apple proceeded to diligently collect, review, and produce documents from the 15 custodians. By
the substantial completion date of July 31, 2020, Apple had produced 64 volumes totaling
3,585,471 documents and 7,181,345 pages. See Ex. 4. Apple has continued to collect and produce
documents since then, using a technology-assisted review (“TAR”) protocol in conjunction with
manual review by hundreds of contract attorneys. Through the end of November 2020, Apple has
spent tens of thousands of hours, and millions of dollars, on producing documents in this litigation.
Epic filed its complaint in August 2020. Apple agreed to give Epic the millions of documents
produced in the Class Actions, update its collection and production from 2 custodians most
relevant to the Epic litigation, and collect and produce documents from 4 additional Epic-specific
custodians. See Ex. 9. Epic, for its part, agreed that it would “use . . . efficiently” the extant
productions and seek only “limited targeted additional discovery” from Apple. 08/24/20 Tr. 5:19-
22. Based on those representations and others, and at Epic’s request, the Court set an expedited
discovery and trial schedule for the Epic case. 09/28/20 Tr. 100:17-18.
After months of inaction, Class Plaintiffs then renewed their request for additional custodians. Ex.
6. Given the limited time for document discovery, the Discovery Coordination Order, and the
Court’s repeated admonitions that the Plaintiffs be “focused and efficient,” Apple insisted that
Plaintiffs coordinate on a joint list. 10/19/20 Tr. 20:17-18; Ex. 7. It was not until November 10,
2020 that Plaintiffs provided Apple a joint request for 10 additional custodians. Ex. 8.
Apple promptly investigated the feasibility of adding more custodians. Because its existing
protocols would not allow the timely production of documents from any additional custodians,
Apple made a significant change to its document review protocol so that its vendors could
complete productions from a review project totaling approximately 2.5 million additional
documents before January 6, 2021. Based on the document counts for the requested custodians
(each of which number in the hundreds of thousands or millions), this change would allow for
approximately 2 additional custodians within the then-existing production deadline. Ex. 10.
In light of the realities of collecting, reviewing, and producing millions of additional documents
in a matter of weeks, Apple has made multiple proposals to Plaintiffs regarding additional
custodians. The parties agreed that Steve Jobs would be a custodian, bringing Apple’s total to 20
document custodians. Plaintiffs dropped their request for Ann Thai, and requested instead 4 more
custodians: Tim Cook, Craig Federighi, Scott Forstall, and Shaan Pruden. In a final effort to
resolve this issue among the parties, Apple agreed to make Mr. Forstall and Ms. Pruden custodians;
designated Erik Neuenschwander a custodian in the place of Mr. Federighi; and offered to make
Mr. Cook a custodian subject to a 4-hour limit on any deposition. Ex. 11. Even though Plaintiffs
are getting essentially everything they requested, they insisted on bringing two disputes to the
Court for resolution.



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Argument: It is Apple’s responsibility and prerogative to identify the custodians most likely to
have relevant and non-duplicative information. See The Sedona Principles, 3d Ed., Cmt. 6a., at
120 (“The responding party must make decisions on what is required to meet its preservation and
production obligations based on direct input from [knowledgeable individuals] inside the
organization . . . .”); see also In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices &
Antitrust Litig., 2018 WL 1440923 (D. Kan. March 15, 2018) (“Absent agreement among the
parties, the party who will be responding to discovery requests is entitled to select the custodians
it deems most likely to possess responsive information and to search the files of those individuals.”
(internal citation and quotation marks omitted)).
Plaintiffs collectively have propounded 225 requests for production of documents to Apple—142
from the class plaintiffs and 83 from Epic. Apple has diligently reviewed those requests and
identified the group of custodians who collectively are most likely to have relevant and non-
duplicative documents responsive to those requests. In consultation with Plaintiffs, Apple has
identified 24 custodians. In Apple’s judgment, the documents in those individuals’ collections
will be more than sufficient to satisfy Plaintiffs’ requests. Yet Plaintiffs still want more.
Plaintiffs ask this Court to order Apple to make Craig Federighi a document custodian, yet they
do not cite any of their own document requests in support. Instead, they refer to various arguments
made by the parties to establish that security and privacy engineering issues are at issue. Existing
custodians, including Phil Schiller and Adam Hammer, are likely to have responsive documents
on such issues. Apple has also offered to make Erik Neuenschwander an additional custodian.
Mr. Federighi is in charge of engineering for all iOS; Mr. Neuenschwander (who reports to Mr.
Federighi) oversees privacy across Apple’s platforms. Apple has assessed the roles and
responsibilities of Mr. Federighi and Mr. Neuenschwander in light of the document requests made
by Plaintiffs and the other custodians from whom documents are being produced, and it is Apple’s
judgment that Mr. Neuenschwander along with the other designated custodians are more likely to
have relevant, non-duplicative documents regarding the security and privacy issues in this case.
Mr. Federighi appears on a relative handful of the millions of documents that Apple has already
produced. To the extent that engineering concerns had broader implications for iOS security and
privacy, those documents are likely to be captured by other existing custodians, including Messrs.
Schiller and Hammer, as well as Mr. Neuenschwander. Plaintiffs provide no explanation as to
why their documents would be insufficient or why Mr. Federighi should be thrust into this lawsuit
instead. Despite having received millions of Apple documents many months ago, Plaintiffs fail to
point to compelling evidence that Mr. Federighi has unique knowledge. In addition, Mr.
Federighi’s documents are also likely to contain particularly sensitive business information,
requiring more extensive individual review, further burdening Apple’s ability to expeditiously
produce documents.
After assessing Plaintiffs’ claims and discovery requests, Apple has determined that Mr.
Neuenschwander is an appropriate custodian in addition to the others. Mr. Neuenschwander has
been a software engineer at Apple for 13 years, reports directly to Mr. Federighi, and oversees user
privacy across all of Apple’s products and services. This includes performing reviews of the
privacy impact of various features in, and data collected by, Apple products and services,
coordinating with Apple’s global privacy policy organization, and working with counsel in
coordinating outreach and communications with regulators and standards bodies. While Mr.
Neuenschwander founded Apple’s privacy engineering team, he is far more than “a privacy

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specialist.” In addition to being responsible for managing the privacy features on iOS, he also
oversees a “broad[] spectrum of security issues” that Plaintiffs claim are necessary to the case.
With Messrs. Neuenschwander, Schiller, and Hammer as document custodians (as well as the other
21 custodians Apple has agreed to), there is no need to search another Apple executive’s
documents. Plaintiffs certainly cannot make the case that Mr. Neuenschwander’s documents are
inadequate without reviewing them first.
Apple has determined that the 24 custodians to which it has agreed are most likely to have relevant,
non-duplicative documents in response to Plaintiffs’ requests—including the topics they list in
their portion of this letter. They have no basis to argue that Mr. Federighi, uniquely within Apple,
is likely to have other documents—particularly since Tim Cook and Phil Schiller are (very) senior
executives involved in many of the same decisions and discussions. Once the production is
complete, if they identify any gaps, Apple is happy to meet and confer with Plaintiffs at that time.
Tim Cook: Plaintiffs sought to make Apple’s CEO, Mr. Cook, a custodian despite the fact that his
responsibilities extend far beyond the issues in this case. Apple has already designated Phil
Schiller as the lead witness on App Store issues and he is a custodian. (Mr. Schiller is also the
equivalent to Mr. Sweeney of Epic for purposes of the issues in this case.) Nevertheless, Apple
agreed to make Mr. Cook a document custodian as a significant concession to Plaintiffs even
though Apple does not believe that he is likely to possess unique, non-duplicative information
unavailable from Apple’s other custodians. In exchange, Apple asked only that Plaintiffs meet
them halfway with a concession of their own—one that would accommodate Mr. Cook’s busy
schedule—by limiting their deposition of Mr. Cook to four hours. Plaintiffs have refused to agree
to this reasonable condition, and so the Court should impose this limitation as a condition of access
to Mr. Cook’s documents.




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                                Gary A. Bornstein
                                Yonatan Even
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                                M. Brent Byars

                              Respectfully submitted,

                              By:         /s/ Lauren A. Moskowitz_________________
                                          Lauren A. Moskowitz
                                          Attorneys for Plaintiff Epic Games, Inc.


Dated: December 7, 2020
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                              Respectfully submitted,


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                                          Rachele R. Byrd
                                          Interim Class Counsel for Consumer
                                          Plaintiffs


Dated: December 7, 2020       HAGENS BERMAN SOBOL SHAPIRO LLP
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                                Shana E. Scarlett
                                Benjamin J. Siegel

                              Respectfully submitted,


                              By:         /s/ Benjamin J. Siegel
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                                          Interim Class Counsel for Developer
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Dated: December 7, 2020       GIBSON, DUNN & CRUTCHER LLP
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                              By:         /s/ Jay P. Srinivasan
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                       I, Lauren A. Moskowitz, am the ECF User whose ID and password are

being used to file this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest

that each of the signatories identified above has concurred in this filing.



                                                                 /s/ Lauren A. Moskowitz
                                                                Lauren A. Moskowitz




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